Case 1:05-cv-01125-.]DT-STA Document 3 Filed 05/03/05 Page 1 of 2 Page|D 1

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IN THE UNITED STATEs DISTRICT COURT @5,94 "
FoR THE WESTERN DISTRICT oF TENNESSEE ` Y~J, `“~ §§
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L/- (`/:) :F’//?O ' 4
MICHELLE GRANTHAM, ~ t;;<~ /®_3 ///?@,,/D
on behalf of deceased Willard Grantham, WMC[Z§!`E,;
' lt)@i/
Plaintiff,
VS. NO. 05-1 IZS-T
DEBRA KELLY,
Det`endant.

ORDER ON MOTION FOR ADMISSION PRO HAC VICE
Plaintiff has moved for permission to permit Jim Waide to participate B @c_: _\;_ig_e
on their behalf in this action. Mr. Waide is a member in good standing in the U. S. District
Court for the Northern District ot` Mississippi. For good cause shown, that motion is
granted. lt is hereby ordered that J im Waide be admitted p_r_Q D£ w and may actively
participate in this action, including pre-trial and post-trial proceedings before this court.

IT IS SO ORDERED.

 

 

 

This document entered on the docket sheet' m compliance
with nu)e 58 and or 79 (a) FacP on 2410 31 Q§’ "

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Notice of Distribution

This notice confirms a copy ot` the document docketed as number 3 in
case 1:05-CV-01125 Was distributed by t`aX, mail, or direct printing on
May 5, 2005 to the parties listed.

 

J im Waide

WA]DE & ASSOCIATES, P.A.

P.O. Box 1357
Tupelo, MS 38802

Honorable J ames Todd
US DISTRICT COURT

